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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK


  STATES OF NEW YORK,
  MASSACHUSETTS,
  WASHINGTON, COLORADO,
  CONNECTICUT, DELAWARE,
  DISTRICT OF COLUMBIA,
  HAWAII, ILLINOIS, IOWA, NEW
  MEXICO, NORTH CAROLINA,                       CIVIL ACTION NO. 1:17-cv-05228
  OREGON, PENNSYLVANIA,                         (NGG) (JO)
  RHODE ISLAND, VERMONT, and
  VIRGINIA,

                        Plaintiffs,

             v.

  DONALD TRUMP, in his official
  capacity as President of the United
  States; U.S. DEPARTMENT OF
  HOMELAND SECURITY; ELAINE
  C. DUKE, in her official capacity; U.S.
  CITIZENSHIP AND IMMIGRATION
  SERVICES; U.S. IMMIGRATION
  AND CUSTOMS ENFORCEMENT;
  and the UNITED STATES OF
  AMERICA,

                        Defendants.



                  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF STATES’
                        MOTION FOR PRELIMINARY INJUNCTION




                                            1
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                                          PRELIMINARY STATEMENT

              On September 5, 2017, the Departments of Homeland Security (“DHS”) and Justice

   (“DOJ”) announced the termination of Deferred Action for Childhood Arrivals (“DACA”).

   DACA is a nationwide program that permits undocumented individuals who were brought to the

   United States as young children to live and work in the only country they know as home.

   Through this highly successful program, nearly 800,000 DACA grantees—the majority of whom

   are of Latino descent—contribute to our communities and economies daily. DACA grantees

   work in state and local government agencies, universities and hospitals, and in a diverse array of

   businesses and non-profit institutions. DACA grantees are integrated into our communities and

   both the public and private sectors rely on their significant contributions.

              Yet when DHS and DOJ decided to end DACA, they disregarded the harm the

   termination will inflict on DACA grantees as well as on the state and local institutions and

   private companies that count on them. Instead, DHS and DOJ cited two unsubstantiated reasons

   for the termination—the likelihood of successful litigation against the United States if

   Defendants continued the program, and that DACA itself was unconstitutional and unlawful.

   Evidence in the record reveals the stated bases to be pretextual. Specifically, statements and

   actions demonstrate that Defendants’ termination of DACA was motivated, at least in part, by

   animus against Latinos.

              Defendants have repeatedly asserted to this Court and others that they have unfettered

   authority to terminate DACA—whenever they want, however they want, and for whatever

   reason they want. 1 This assertion is simply not true. While Congress has delegated wide

   discretion to the Executive Branch in the area of immigration enforcement, the U.S. Constitution

   1
       See Mem. of Law in Supp. of Defs.’ Mtn. to Dismiss at 12-19, ECF. 71-1; Defs’ Mtn. to Vacate at 5-6, ECF. 48.


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    places important limits on the exercise of such discretion. Similarly, Congress has enacted laws

    to ensure that the Executive does not exercise its discretion in an arbitrary and capricious

    manner, and that the Executive hears from diverse interests and considers potential consequences

    before it takes action. Plaintiff States (herein, “Plaintiff States” or “States”) accordingly filed this

    suit to prevent Defendants from sidestepping these key restraints on their authority and from

    causing great harm to the States and their residents.

            Now Plaintiff States bring this motion requesting that the Court preliminarily enjoin the

    termination of DACA. Plaintiff States are likely to succeed on the merits of their claim that the

    termination was arbitrary and capricious and an abuse of discretion, in violation of the

    Administrative Procedure Act (“APA”), 5 U.S.C. § 706(2). Defendants did not offer reasoned,

    evidence-based rationales for the termination; failed to analyze all relevant issues and factors,

    including the significant reliance interests created by DACA; and Defendants’ stated reasons for

    the termination were pretextual as the decision to terminate DACA was animus-driven.

            That animus towards Latinos motivated the decision to terminate DACA, and the stated

    irrational reasons for the action, demonstrate that Defendants also violated the equal protection

    guarantee of the U.S. Constitution. Animus-driven decisionmaking cannot withstand even the

    most deferential form of Equal Protection. Indeed, given the breadth and abruptness of the

    termination, its lack of evidentiary support, and its unprecedented departure from deferred action

    norms, the termination decision “seems inexplicable by anything but animus toward the class it

    affects.” Romer v. Evans, 517 U.S. 620, 632 (1996). Thus, Plaintiff States are likely to succeed

    on their equal protection claim.

            Plaintiff States are also likely to succeed on their claim that Defendants violated the

    procedural requirements of the APA and Regulatory Flexibility Act (“RFA”), because



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    Defendants failed to provide for notice and comment on the termination and failed to consider

    the impact on numerous local governments and small businesses throughout the country. The

    termination is a legislative rule that affects substantial rights and interests and binds discretion of

    DHS officials. Moreover, the strong public interest in the termination makes it just the type of

    rule for which notice and comment is meant to apply.

           In terminating DACA—when they did, in the manner they did, and for the reasons they

    did—Defendants have attempted to evade critical safeguards against the unconstitutional and

    unlawful exercise of their power. Left unchecked, Defendants actions will cause irreparable and

    grave harm to Plaintiff States and their residents. By contrast, Defendants will not be harmed by

    a preliminary injunction. The balance of the equities therefore supports such preliminary relief.

    Preliminary relief will ensure that Defendants are not allowed to elude legal provisions designed

    to prevent abuses of power and to protect the well-being of the American public.

                                        STANDARD OF REVIEW

           A party “seeking a preliminary injunction must establish that he is likely to succeed on

    the merits; that he is likely to suffer irreparable harm in the absence of preliminary relief; that the

    balance of equities tips in his favor; and that an injunction is in the public interest.” Winter v.

    Nat’l Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).




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                                                     ARGUMENT

        PLAINTIFF STATES ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
                                   CLAIMS

            Defendants’ Termination of DACA was Arbitrary and Capricious in Violation of
            the APA.

            Under the APA, agency action is unlawful if it is found to be “arbitrary, capricious, an

    abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. §706(2). 2 To determine

    whether an agency action is arbitrary and capricious, a reviewing court must conduct a

    “thorough, probing, in-depth review” of the agencies’ actions and a “searching and careful”

    inquiry into the underlying facts. 3 Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.

    402, 415-16 (1971). Actions are arbitrary and capricious where, among other things, an agency

    fails to offer a reasoned explanation for reversing a prior policy, Motor Vehicle Mfrs. Ass’n v.

    State Farm, 463 U.S. 29, 41-42 (1983), fails to consider and analyze “all relevant issues and

    factors,” including the serious reliance interests engendered by the prior policy, Long Island

    Head Start Child Dev. Servs. v. N.L.R.B., 460 F.3d 254, 258-260 (2d Cir. 2006); Perez v.

    Mortgage Bankers Ass’n, 135 S.Ct. 1199, 1209 (2015), or adopts a pretextual rationale for its

    action, Public Citizen v. Heckler, 653 F. Supp. 1229, 1237 (D.D.C. 1986). Although Defendants

    violated all of these prohibitions, a finding by this Court that they simply violated one of them is

    sufficient to sustain a ruling that Defendants acted in an arbitrary and capricious manner.


    2
     The arbitrary and capricious standard applies to agency actions other than rulemaking, including policy statements.
    See, e.g., Bechtel v. FCC, 10 F.3d 875, 878, 887 (D.C. Cir. 1993) (holding that a policy statement exempt from
    notice and comment was arbitrary and capricious).
    3
      In addition, review of agency action may include information outside the Administrative Record where an
    agency’s failure to explain an action frustrates effective judicial review, Camp v. Pitts, 411 U.S. 138, 143 (1973),
    Yale-New Haven Hosp. v. Leavitt, 470 F.3d 71, 82 (2d. Cir. 2006), or where an agency has engaged in bad faith or
    improper behavior, such as discrimination. Nat’l Nutritional Foods Ass’n v. Mathews, 557 F.2d 325 (2d. Cir. 1977).
    Here, Defendants have both failed to adequately explain their actions, see infra Part I.A., and acted on an improper
    basis, see infra Part I.B. Therefore, the Court may consider information outside the Administrative Record.



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            Defendants’ Termination of DACA Was Arbitrary and Capricious as Defendants
            Failed to Offer a Reasoned Explanation for Reversal of Policy.

            When an agency reverses course on a policy it must provide “a reasoned analysis” for its

    reversal. Motor Vehicle Mfrs. Ass’n v. State Farm, 463 U.S. 29, 41-42 (1983); Yale-New Haven

    Hosp. v. Leavitt, 470 F.3d 71, 79 (2d Cir. 2006) (“[R]eview is particularly searching” when the

    agency changes “[a] settled course of behavior.”). Under certain circumstances, the agency must

    provide “a more detailed justification than what would suffice for a new policy created on a

    blank slate.” FCC v. Fox Television Stations, 556 U.S. 502, 515 (2009). This includes

    circumstances in which an agency’s action is inconsistent with facts and circumstances that

    underlay the prior policy. Encino Motorcars LLC v. Navarro, 136 S.Ct. 2117, 2126 (2016). An

    agency’s failure to explain these inconsistencies is reason for holding its policy reversal arbitrary

    and capricious. Id.

            1. Defendants did not offer reasoned, evidence-based rationales for reversing their
               prior position.

            In the memo terminating DACA (the “Termination Memo”), Defendants’ cite only two

    reasons for terminating DACA: the risk that continuing the program would result in litigation,

    and the program’s purported unlawfulness. 4 In drawing these conclusions, Defendants provide

    no assessment of the litigation risk or explanation of their legal reasoning. This lack of reasoned

    analysis is particularly striking since Defendants’ newfound position is squarely inconsistent

    with their prior position, namely that DACA is a deeply rooted, lawful exercise of prosecutorial

    discretion.




    4
     See Memorandum from Acting Secretary Elaine Kelly to James McCament, Acting Director of U.S. Citizenship
    and Immigration Services, Rescission of Deferred Action for Childhood Arrivals, September 5, 2017 (“Termination
    Memo”), AR 252-55.



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             Defendants failed to provide a reasoned assessment of the litigation risk resulting from

    continuing the DACA program. When seeking to reverse policy based on a purported risk of

    litigation, an agency must explain why it determined that case law was “fatal” to the prior policy.

    Int’l Union of Mine Workers v. U.S. Dep’t of Labor, 358 F.3d 40, 44 (D.C. Cir. 2004) (finding

    arbitrary an agency’s reversal of a rule based on a court decision to reverse a separate rule).

    While Defendants reference decisions by the Fifth Circuit and Supreme Court in their

    Termination Memo, the Memo and Administrative Record includes no assessment explaining

    why these cases were “fatal” to DACA. 5 Moreover, a valid consideration of litigation risk would

    entail weighing the comparative costs and burdens of taking different actions, an analysis also

    absent from the Termination Memo and Administrative Record. Defendants’ failure to assess or

    analyze the potential risk of litigation undermines their subsequent reliance on that risk to

    terminate DACA.

             Further, Defendants were aware that their desire to avoid litigation could not be achieved

    by their decision to terminate DACA, as that decision was also subject to the virtual certainty of

    litigation. Defendants’ attempt to avoid a lawsuit initiated by the State of Texas merely “traded”

    that lawsuit for this suit by Plaintiff States. Organized Vill. of Kake v. U.S. Dep’t of Agric., 795

    F.3d 956, 970 (9th Cir. 2015) (en banc) (rejecting litigation risk rationale as “implausible” where

    agency “deliberately traded one lawsuit for another”).




    5
      DACA Termination Memo, AR 252-55. In fact, the decisions arising out of Texas v. United States do not support
    the conclusion that DACA is unlawful as: (1) the Texas court did not find constitutional defects in DAPA. 809 F.3d
    134, 154 (5th Cir. 2015) (“We decide this appeal, however, without resolving the Constitutional claim.”); (2) the
    legality of the original DACA policy was never at issue in Texas and no court has held DACA itself unlawful. Id. at
    173; (3) the Fifth Circuit found legally significant differences between DAPA and DACA. Id. at 173-74 (finding that
    “for a number of reasons, any extrapolation [of DAPA] from DACA must be done carefully”); and (4) the Fifth
    Circuit decision regarding DAPA’s legal defects is not persuasive in light of the flaws in that reasoning discussed in
    Br. Of U.S., United States v. Texas, 2016 WL 836758 (U.S. 2016).



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            Defendants also failed to provide any legal analysis in support of their conclusions

    regarding the lawfulness of the DACA program. The Termination Memo relies entirely on a one-

    line assertion in a letter from the Attorney General that DACA “has the same legal and

    constitutional defects” that the Fifth Circuit and a divided Supreme Court recognized as to the

    Deferred Action for Parents of Americans and Lawful Permanent Residents (“DAPA”)

    program. 6

            Agencies are obligated to provide reasons, not bare conclusions, to support an action.

    Amerijet Int’l v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014) (“conclusory statements will not

    do; an agency’s statement must be one of reasoning”)(internal quotations omitted). Defendants’

    reliance on cursory and erroneous conclusions renders its decision arbitrary and capricious.

            2. Defendants’ termination failed to acknowledge inconsistencies with their prior
               position.

            Defendants failed to explain the inconsistencies between their stated reasons for

    terminating DACA, and their prior well-reasoned and in-depth analysis supporting the program.

    In substantial analyses provided in an Office of Legal Counsel opinion in 2014, and in briefs in

    support of the DAPA program filed with the Fifth Circuit and the U.S. Supreme Court, 7

    Defendants explained that the DACA program was lawful. Although Defendants now claim that




    6
     Ltr from Att’y Gen. Jefferson Sessions to Sec’y of the Dep’t of Homeland Security Elaine Duke, AR 251; DACA
    Termination Memo (“Sessions Letter”), AR 252-55. DAPA offered deferred action to the parents of U.S. Citizens
    and Lawful Permanent Residents.
    7
      See United States Office of Legal Counsel, “The Department of Homeland Security’s Authority to Prioritize
    Removal of Certain Aliens Unlawfully Present in the United States and to Defer Removal of Other,” (Nov. 19,
    2014), AR 4-36; Appellant’s Br., Texas v. United States, 2015 WL 1611821 (5th Cir. 2015); Br. Of U.S., United
    States v. Texas, 2016 WL 836758 (U.S. 2016).



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    the program is unlawful, they failed to consider any reasoned analysis or evidence to rebut their

    prior analysis, as evidenced by the lack of any such materials in the Administrative Record. 8

                Likewise,      Defendants’   argument       that    DACA       was     an     extra-statutory     and

    “unconstitutional” 9 exercise of Executive power fails to acknowledge that DACA is rooted in an

    established tradition of Executive action dating back to the New Deal. 10 DHS and its predecessor

    agencies have regularly developed prosecutorial discretion programs, like DACA, which have

    offered temporary relief from deportation to millions of immigrants across a variety of

    circumstances. 11 Deferred action has been offered to many different classes of people to respond

    to an array of global events and domestic policy objectives, and often, as with DACA, out of

    concern for immigrants’ age, and their long-term presence and ties to the United States. 12 The

    Termination Memo and Administrative Record lack any explanation of why Defendants now, in

    a reversal of Defendants’ prior policy, believe the DACA program is an illegal exercise of

    Executive power. Based on the complete failure to explain these inconsistencies, Defendants’

    termination decision is arbitrary and capricious.




    8
      Prior to termination, Defendants received a letter from prominent law professors who presented substantial,
    reasoned analysis supporting the lawfulness of the DACA program. See Ex. 87 (Ltr from Shobha Wadhia et al. to
    President Donald Trump, Aug. 14, 2017). Defendants ignored this letter.
    9
        Sessions Letter, AR 251.
    10
         See Ex. 1, ¶ 24 (Wadhia Decl.).
    11
         See Id. at, ¶¶ 31-44, 60-65.
    12
       See Id. at, ¶¶ 40-41, 61, 71; For example, President Reagan’s “Family Fairness” program shares several
    similarities to DACA. It provided deferred action for children under 18 whose parents were eligible for permanent
    residency legalizing under the Immigration Reform and Control Act of 1986. Three years later, the Family Fairness
    program was expanded under President George H.W. Bush. That Executive program made 1.5 million people
    eligible for relief out of a total undocumented population of 3.5 million. Just like DACA grantees, Family Fairness
    grantees were also allowed to apply for employment authorization. Eventually, Congress acted to provide a
    permanent solution for many of these individuals.



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            Defendants’ Termination Did Not Account for the Significant Reliance Interests
            Created by DACA, or Consider Any Steps to Mitigate the Harm of Termination.

            When reversing a prior policy that “engendered serious reliance interests,” agencies must

    provide a reasoned explanation for disregarding facts and circumstances that underlay that

    policy. FCC v. Fox Television Stations, 556 U.S. 502, 515 (2009). In addition, agencies must

    consider all “relevant factors” during the decision-making process. State Farm, 463 U.S. at

    43(1983) (citing to Bowman Transp. Inc. v. Arkansas-Best Freight System, 419 U.S. 281, 285-86

    (1974)). Those factors include “the costs as well as the benefits” of the action. State Farm, 463

    U.S. at 54. Failing to consider an “important aspect of the problem” is grounds for finding an

    action arbitrary and capricious. Natural Resources Defense Council v. EPA, 808 F.3d 556, 569,

    576–77 (2d Cir. 2015). Defendants violated the APA by disregarding the serious reliance

    interests engendered by DACA, and utterly failing to consider any of the costs triggered by

    terminating DACA.

            While Defendants single-mindedly focused on their unfounded legal conclusions, they

    ignored the serious reliance interests engendered by DACA. Since 2012, nearly 800,000 grantees

    have relied on DACA to “come out of the shadows” and integrate into their communities.13

    Grantees have relied on the promises of the DACA program to make long-term decisions

    inconsistent with a sudden end to the program. For instance, many grantees have enrolled in

    multi-year degree programs that will now be disrupted. 14 One in twenty grantees has relied on




    13
      Ex. 2 (Updated USCIS, Consideration of Deferred Action for Childhood Arrivals Fiscal Years 2012-2017, Sept.
    30, 2017); Ex. 3, McCament Dep. 158: 3 –159:1.
    14
      See Ex. 4, ¶ 13 (Andrade Decl.) (rely on DACA to pursue a medical degree); Ex. 5, ¶ 10, 13 (Naveed Decl.) (rely
    on DACA to pursue degrees in nursing and law); Ex. 6, ¶ 7-9, 12-13 (Cuevas Decl.) (rely on DACA to pursue a
    Dental degree); Ex. 7, ¶ 6 (Mendes Decl.); Ex. 8, ¶ 4 (Teodoro Decl.); Ex. 9, ¶ 7, 9-10 (Juarez Decl.).



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    the program to start a business, a rate higher than native-born Americans. 15 Public and private

    employers have also counted on DACA to invest time and resources in hiring and training

    grantees; losing these employees will disrupt their businesses and agencies. 16 In addition, public

    and private colleges and universities have relied on the program to enroll and integrate DACA

    grantees into their educational programs. 17 Finally, the States have relied on DACA to integrate

    grantees into their licensing schemes and economies generally, including into sectors in which

    professional licenses are necessary. 18

             As described in detail in Part IV, the termination of DACA will impose substantial costs

    on grantees and their communities. Yet Defendants considered none of this before terminating

    DACA. The Termination Memo and Administrative Record contain no references to reliance

    interests and no cost evaluation. Defendants ignored any readily obtainable data regarding the

    potential impact of termination. See State Farm, 463 U.S. at 43; Fox Television, 556 U.S. at 519

    (2009) (holding that agencies must “adduce empirical data that can readily be obtained”). 19 The


    15
      See Ex. 10, ¶ 10(g) (Wong Decl.); Ex. 11 (Ike Brannon, The Economic and Fiscal Impact of Repealing DACA,
    The Cato Institute, Jan. 18, 2017).
    16
      See Ex. 12, ¶ 4 (Blackwell-Hawkins Decl., Amazon); Ex. 13, ¶¶ 7-11 (Kalvert Decl., TripAdvisor); Ex. 14, ¶ 8-11
    (Igneri Decl., Local Burger); Ex. 15, ¶¶ 4-7 (Tingen Decl., Tingen & Williams); Ex. 16, ¶¶ 7-11 (Schwartz Decl.,
    Univision); Ex. 17, ¶ 7 (Loera Decl., Wash. St. Univ.); Ex. 18, ¶¶ 5-10 (Heatwole Decl., Univ. of Mass.); Ex. 19, ¶¶
    3-6 (Monroe Decl., Wash. Dept. of Ecology); Ex. 20, ¶¶ 3-6 (Kaplan Decl., Wash. Dept. of Social and Health Serv.);
    Ex. 21, ¶¶ 3-6 (Jones Decl., Wash. Office of Treasurer); Ex. 22, ¶¶ 3-6 (Conly Decl., Wash. Dep’t of Veterans
    Affairs).
    17
      See, Ex. 18, ¶¶ 5-7 (Heatwole Decl., U. Mass); Ex. 24, ¶¶ 12-13 (Clark et al. Decl., Mass. State Univ.); Ex. 25, ¶¶
    15-38 (Herbst Decl., Univ. of Conn.); Ex. 26 ¶¶ 6-13 (Pachis Decl., Eastern Conn. St. Univ.); Ex. 27, ¶¶ 4-7
    (Hardwick Decl., Univ. of the District of Columbia).
    18
       See Ex. 59, ¶ 12 (Rosado Decl., New York Secretary of State); see also 705 Ill. Comp. Stat. 205/2 (Illinois statute
    allowing DACA grantees to apply for a license to practice law); Ex. 55, ¶¶ 6-7 (Bzdyra Decl., CT DMV); Ex. 56, ¶¶
    6-10 (White Decl., IL SOS); Ex. 57, (Mass. Registry of Motor Vehicles, Social Security Number (SSN)
    Requirements); Ex. 58, (Attorney General Advisory Letter to Acting Commissioner K. Eric Boyette, Jan. 17, 2013);
    ORS 807.021 (Oregon Revised Statutes requiring proof of legal presence to issue, renew, or replace driver license).
    19
      Several studies were available at the time of Termination discussing in detail the potential impact including: Ex.
    28 (Tom Wong, et al., DACA Grantees’ Economic and Educational Gains Continue to Grow, Center for American
    Progress, Aug. 28, 2017); Ex. 29 (Tom Wong et al., New Study of DACA Beneficiaries Shows Positive Economic
    and Educational Outcomes, Center for American Progress, Oct. 18, 2016); Ex. 11 (Ike Brannon, The Economic and


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    testimony of senior DHS officials confirms that Defendants did not analyze the potential costs of

    termination. According to DHS officials, the decision to terminate DACA resulted from two and

    a half hours of meetings and a few follow-up conversations. 20 Defendants did not consult key

    senior officials at U.S. Citizenship and Immigration Services (“USCIS”) or Immigration and

    Customs Enforcement (“ICE”) on important aspects of the termination during the decision-

    making process. 21 Moreover, Defendants failed to consult many key stakeholders, including

    states and localities (other than Texas), DACA grantees and their employers, colleges and

    universities, students, patients, military unit commanders, and family members. 22 Defendants did

    not confer with any economists about the potential impact on the economy and even failed to

    consider readily-available data from other agencies. 23 With regard to the most obvious outcomes,

    such as loss of employment by grantees, at least one DHS official agreed that the policy was “not

    wise.” 24

               Finally, Defendants failed to consider any alternatives to mitigate damage to the hundreds

    of thousands of people relying on the program. When reversing a prior policy, agencies have an

    obligation to consider “reasonably obvious alternatives,” and when rejecting those alternatives,

    they “must give reasons for rejection.” Yale-New Haven Hosp., 470 F.3d at 80 (quoting N. Y.

    Council v. Fed. Labor Relations Auth., 757 F.2d 502, 508 (2d Cir. 1985)). The Termination

    Fiscal Impact of Repealing DACA, the Cato Institute, Jan. 18, 2017); Ex. 30 (Nicole Prchal Svajlenka, et. al., A New
    Threat to DACA Could Cost States Billions of Dollar, Center for American Progress, July 21, 2017); and Ex. 31
    (Misha Hill and Meg Wiehe, State & Local Contributions of Young Undocumented Immigrants, Institute on
    Taxation & Economic Policy, April 25, 2017).
    20
         See Ex. 3, McCament Dep. 72:22-75:17, 124:22-128:16, 130:2-132:7; Ex. 32, Hamilton Dep. 98:6-113:15.
    21
         See, e.g., Ex. 34, Miller Dep. 99:12-19, 100:3-7, 204:1-21, 207:13-20; Ex. 35, Neufeld Dep. 138:13-139:6.
    22
     See Ex. 33, Nealon Dep. 165:3-168:18; Ex. 3, McCament Dep. 240:20-242:5; Ex. 35, Neufeld Dep. 187:6-188:8;
    Oct 3 Sen. Jud. Oversight Hearing Transcript at 39.
    23
         See Ex. 33, Nealon Dep. 168:3-168:18; Ex. 32, Hamilton Dep. 213:14-215:15; Ex. 34, Miller Dep. 102:24-108:8.
    24
         Ex. 3, McCament Dep. 15:18-24.




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    Memo and Administrative Record contain no evidence that Defendants considered different

    alternatives for winding down the DACA program, or for changing the operation of the program

    to address its alleged legal flaws. Defendants even ignored the obvious alternative of allowing

    current grantees to continue receiving deferred action. Defendants’ actions are arbitrary and

    capricious because they did not consider any reasonably available alternatives to mitigate the

    harm to hundreds of thousands of grantees—as well state and local governments, employers, and

    universities—who rely on the program.

           An Executive action that has the potential to disrupt millions of lives calls for “extensive

    study and analysis.” United States. v. U.S. Dist. Court for the N. Dist. of Cal., No. 17-72917, N.4

    (9th Cir. 2017) (Watford, J. dissenting). However, Defendants failed to conduct “even [a]

    minimal level of analysis,” and altogether failed to acknowledge the vast and profound impacts

    of their action. Encino Motorcars, 136 S. Ct. at 2120. Defendants’ failure to “examine the

    relevant data” during the decision-making process renders their decision to terminate DACA

    arbitrary and capricious. Long Island Head Start, 460 F.3d at 257-258 (citing State Farm, 463

    U.S. at 43).

           Defendants’ Explanations for Termination Are Pretextual and Their True Basis for
           Termination Is Impermissible.

           As stated above, an agency must “cogently explain” the “true basis” for its actions. State

    Farm, 463 U.S. at 48-49; Public Citizen, 653 F.Supp. at 1237 (citing New England Coal. on

    Nuclear Pollution v. NRC, 727 F.2d 1127 (D.C. Cir. 1984). An agency’s reasoning is pretextual

    where the agency makes statements contradicting its purported rationale.

           Here, administration officials made statements that conflict with and undermine

    Defendants’ proposed justifications for terminating DACA. While the Termination Memo cites

    the risk of litigation as a reason for terminating the DACA program, an administration official

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    involved in the decision-making process noted that an agency acting on the basis of litigation

    risk was the “craziest policy you could ever have in a Department.” 25 In addition, on September

    5, 2017, the same day DHS issued the Termination Memo, President Trump tweeted, “Congress

    now has 6 months to legalize DACA . . . If they can’t, I will revisit the issue.” 26 The President’s

    promise to “revisit the issue” implies that the Executive has the authority to extend DACA, an

    implication inconsistent with Defendants’ statement that DACA was “effectuated…without

    proper statutory authority” and that the program was “an unconstitutional exercise of

    authority.” 27

               In fact, Defendants’ contradictory rationales for terminating DACA masked the “true

    basis” for their decision—animus toward Latinos, who make up 93% of DACA grantees. Where

    an agency rests its action on an “impermissible basis,” including invidious discrimination against

    a particular race or group, it abuses its discretion. Wong Wing Hang v. I.N.S., 360 F.2d 715, 718-

    19 (2d. Cir. 1966); Bertrand v. Sava, 684 F. 2d 204, 212-213 (2d. Cir. 1982); Haitian Ctrs.

    Council, Inc. v. Sale, 823 F.Supp. 1028, 1048-1049 (E.D.N.Y. 1993) (holding that Attorney

    General abused her discretion by detaining Haitians “solely because they are Haitian and have

    tested HIV-positive.”).

               Statements by senior officials leading up to the termination of DACA demonstrate that

    their action rested on invidious discrimination towards Latinos. First, in announcing his

    presidential campaign, candidate Trump promised to eliminate DACA and compared Mexican

    25
       Ex. 32, Hamilton Dep. 207:20-208:11. Indeed, a senior cabinet official has made similar statements when
    discussing the risk of litigation in response to a recommendation to reduce the size of certain public lands, stating, “I
    don’t yield to public pressure. Sound policy is not based on threats of a lawsuit. It’s doing what’s right.” Ex. 36
    (Juliet Elperin, Zinke backs shrinking more national monuments and shifting management of 10, THE WASHINGTON
    POST, Dec. 5, 2017).
    26
         Ex. 37 (Donald J. Trump (@realDonaldTrump), Twitter, Sept. 5, 2017, 5:38 PM).
    27
         Sessions Letter, AR 251; DACA Termination Memo, AR 252-55.



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    immigrants to criminals and rapists, stating: “When Mexico sends its people, they’re not sending

    their best. They’re not sending you. They’re sending people that have lots of problems, and

    they’re bringing those problems with us. They’re bringing drugs. They’re bringing crime.

    They’re rapists.” 28 Subsequently, in announcing the termination of DACA, President Trump’s

    appointed Attorney General used the same rhetoric and falsely associated DACA and its grantees

    with “crime, violence, and even terrorism.” 29

                Defendants’ use of racial code words to discuss issues related to immigration and the

    continuation of DACA provide additional evidence of their discriminatory animus towards

    Latinos. The campaign of then-candidate Trump and President Trump’s Administration once

    installed have repeatedly invoked this strategy and used code words such as “criminals,” “drug

    dealer,” “thugs,” and “cartel,” in reference to Latino immigrants. 30 For example, less than four

    weeks before the termination of DACA, President Trump made a speech featuring racially coded

    language about undocumented individuals who cross the Mexican border. President Trump

    lumped together all such individuals, including DACA grantees, and characterized the entire

    collective as involved in “gangs,” “cartels” and “trafficking.” 31 He further referred to these

    individuals as “animals” and stated that America needed to be “liberat[ed]” from them. 32 On a



    28
       Ex. 38, ¶ 68 (Pitti Decl.); See also Id. at ¶ 66 (Candidate Trump’s description of men who used anti-immigrant
    language, and beat a sleeping Latino man, as “passionate” people who “love their country”), and ¶¶ 110, 128, 134
    (Candidate Trump referred to Latinos as “bad hombres,” swore he would construct a border wall to keep Mexicans
    out of the United States, and falsely attributed American public health crises to Mexican immigration). These
    promises and false accusations were consistent staples in the rhetoric that Latinos engage in fraud and pose a threat
    to national security and public safety. See Id. at ¶¶ 13, 97, 145.
    29
      Ex. 39 (DOJ, Attorney General Sessions Delivers Remarks on DACA, Prepared Remarks, Sept. 5, 2017); see also
    Ex. 38, ¶¶ 22, 134 (Pitti Decl.) (noting Sessions previously associated Mexicans immigrants with “filth”).
    30
         Ex. 38, ¶¶ 14, 63 (Pitti Decl.).
    31
         Id. at ¶ 120 (Pitti Decl.).
    32
       Id. at ¶¶ 63, 120. Further, President Trump, during both his candidacy and presidency, has repeatedly equated
    Latino immigrants as terrorists, enemies of the United States, and un-American. This negative language describing


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    separate occasion, President Trump grouped Mexican individuals with inanimate objects such as

    cars coming across the borders, and referred to both collectively as “vomit.” 33 Attorney General

    Sessions has similarly described Mexicans as “filth.” 34

                In short, Defendants’ claim that they terminated DACA based on litigation risk or the

    program’s unlawfulness is implausible given that Defendants previously concluded that DACA

    is legal and knew that litigation was certain to result from the abrupt cancellation of the program.

    Ample evidence of Defendants’ animus towards Latinos demonstrates that their stated reasons

    for terminating DACA are not only implausible, but also pretextual. Because rendering decisions

    based on invidious discrimination is ipso facto an abuse of discretion, Defendants acts’ violated

    the APA.

                Defendants’ Termination of DACA Violated Equal Protection.

                The Fifth Amendment to the United States Constitution requires the United States to

    provide equal protection of the laws to all persons. Weinberger v. Wiesenfeld, 420 U.S. 636, 638,

    n. 2 (1975) (“[W]hile the Fifth Amendment contains no equal protection clause, it does forbid

    discrimination that is so unjustifiable as to be violative of due process. This Court’s approach to

    Fifth Amendment equal protection claims has always been precisely the same as to equal

    protection claims under the Fourteenth Amendment.” (citations and internal quotation marks

    omitted; alteration in original)); Bolling v. Sharpe, 347 U.S. 497, 499-500 (1954) (holding that

    the Fifth Amendment’s Due Process Clause contains an equal protection safeguard). Pursuant to



    Latinos is contrasted with positive language Defendant Trump has used for Whites, such as “‘good Americans,’ ‘tax
    payers,’ ‘hard-working citizens, ‘members of our communities,’ and the like.”
    33
         Id. at ¶ 133 (Pitti Decl.).
    34
      Id. at ¶¶ 22, 134 (Pitti Decl.). In addition, President Trump terminated DACA less than two weeks after pardoning
    former Maricopa County Sheriff Joe Arpaio, a man convicted for racially profiling Latinos in defiance of court
    orders.



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    that guarantee, government action that is motivated by animus toward individuals—whether such

    animus is based on race, ethnicity, national origin or any other ground—is unconstitutional. See

    Romer v. Evans, 517 U.S. 620, 632 (1996); U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528, 534

    (1973). Defendants’ termination of DACA violates Equal Protection because it was motivated by

    animus toward Latinos and Defendants’ stated reasons for their action are baseless and illogical.

           It is axiomatic that governmental action borne out of “a bare . . . desire to harm a

    politically unpopular group” cannot constitute equal protection of the laws. Moreno, 413 U.S. at

    534. Although “discriminatory intent is rarely susceptible to direct proof,” Mhany Mgmt v. Cty.

    of Nassau, 819 F.3d 581, 606 (2d Cir. 2016), occasionally the record contains unambiguous

    evidence of the decisionmaker’s animus. For example, in Moreno, the federal government

    amended the Food Stamp Act in order to render unrelated individuals who live together

    ineligible for food stamps. Id. at 530. The Supreme Court determined the law unconstitutional

    because the scant legislative record demonstrated that the amendment was intended to target

    “hippies” and “hippie communes” to ensure they could not obtain food stamps. Id. at 534.

    Similarly, in Romer, the Court analyzed a state constitutional amendment that stripped

    homosexual individuals, but no other group, of the ability to obtain legal protections against

    discrimination. When invalidating the amendment, the Court found its “sheer breadth is so

    discontinuous with the reasons offered for it that [it] seems inexplicable by anything but animus

    toward the class it affects.” Romer, 517 U.S at 632.

           As in Moreno, this case is one of those rare instances in which the record reflects

    unambiguous evidence of Defendants’ animus towards Latinos. See supra Part I.C. (describing

    evidence of Defendants’ animus toward Latino individuals). Further, similar to Romer, the

    “sheer breadth” of Defendants’ termination of DACA—a wholesale stripping of eligibility for



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    employment and imposition of substantial obstacles to obtaining higher education for nearly

    800,000 individuals, without exception—despite the significant reliance interests for those

    individuals, their U.S. citizen children, and Plaintiff States and their residents, “seems

    inexplicable by anything but animus towards the class it affects.” See Romer, 517 U.S. at 632.

    Because animus can never constitute a legitimate state interest, see id. at 634-35, Defendants’

    termination of DACA is unconstitutional.

             Even if the record did not contain ample evidence of Defendants’ animus, the termination

    of DACA would still violate equal protection principles. “In the ordinary case, a [challenged

    policy] will be sustained if it can be said to advance a legitimate government interest,” meaning

    the policy is “narrow enough in scope and grounded in a sufficient factual context for [a court] to

    ascertain some relation between the classification and the purpose it served.” Romer, 517 U.S. at

    632-33; see also Heller v. Doe, 509 U.S. 312, 324 (1993) (a policy “fails rational-basis review”

    when it “rests on grounds wholly irrelevant to achievement of the [stated] objective”) (citation

    and internal quotations omitted). Thus, even under the most deferential form of scrutiny, 35 courts

    must analyze government action to ensure it is rationally related to a legitimate governmental

    interest. Romer, 517 U.S. at 632-33; Moreno, 413 U.S. at 533. Defendants’ stated bases for


    35
       The Supreme Court has not directly addressed the level of scrutiny that applies to an equal protection claim based
    on discrimination against a suspect class in the immigration context. See, e.g., Kandamar v. Gonzalez, 464 F.3d 65,
    72 (1st Cir. 2006) (citing Nguyen v. INS, 533 U.S. 53, 60-61 (2001)). In Nguyen, the Court upheld a statute that
    made it more difficult for a child to claim U.S. citizenship if the child was born abroad and out of wedlock to a U.S.
    citizen father as compared to a U.S. citizen mother. 533 U.S. at 60-61. The Court concluded that the gender-based
    classification served an important government objective and the discriminatory classification was substantially
    related to the achievement of that objective. Id. at 60. Although the Nguyen Court applied heightened scrutiny to
    assess the law, it stated that “[g]iven [the Court’s] determination [about the statute at issue], we need not decide
    whether some lesser degree of scrutiny pertains because the statute implicates Congress’ immigration and
    naturalization power.” Id. at 61 (citations omitted). Here, Plaintiff States do not concede that Congress’ immigration
    and naturalization power is only subject to the most deferential form of scrutiny in all circumstances. This is
    especially so given that courts have acknowledged that Latinos are a suspect class for equal protection analysis, and
    thus entitled to heightened scrutiny. Soberal-Perez v. Heckler, 717 F.2d 36, 41 (2d Cir. 1983). Rather, Plaintiff
    States only argue that Defendants’ animus toward Latinos—as evidenced in the record—fails even the most
    deferential Equal Protection test.



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    terminating DACA fail even this highly deferential standard because there exists no rational

    relationship between means and ends. Specifically, Defendants have asserted that they

    terminated DACA to avoid “the prospect of continued litigation” 36 because DACA is unlawful

    and unconstitutional. 37 But no court has held that DACA is illegal, and prior to its recent about-

    face, the government consistently affirmed DACA’s legality. 38 Further, Defendants were on

    notice that abruptly terminating DACA would trigger this very lawsuit, thus destroying any

    argument that ending DACA would somehow avert litigation. 39 In addition, government officials

    involved in the termination of DACA acknowledge that litigation risk is not a reasonable basis

    for directing a sea change in government policy. 40 The irrationality of the decision to terminate is

    particularly stark given the stakes for the Plaintiff States and their residents. See infra Part IV

    (describing irreparable harm).

               Moreover, the Supreme Court’s reasoning in Plyler v. Doe, 457 U.S. 202 (1982) cautions

    that this Court should be especially skeptical of Defendants’ actions because they are harming a

    group of individuals who “are present in this country through no fault of their own,” Id. at 226.41

    Indeed, a “special constitutional sensitivity” attaches where, as here, a government action
    36
       Mem. Of Law in Supp. Of Defs.’ Mtn. to Dismiss at 18, ECF 71-1. See also Termination Memo, AR 252-55
    (citing litigation risk to support decision).
    37
         Termination Memo, AR 252-55.
    38
      See, e.g., U.S. DOJ, Office of Legal Counsel, “Department of Homeland Security’s Authorization to Prioritize
    Removal of Certain Aliens Unlawfully Present in the United States and to Defer Removal of Others” (Nov. 19,
    2014), 2014 WL 10788677; Br. Of U.S. at 31-37, Ariz. Dream Act Coal. V. Brewer, No. 15-15307 (9th Cir. Aug. 28,
    2015), ECF. 62; Br. Of U.S., United States v. Texas, No. 15-674 (U.S. Mar. 1, 2016), 2016 WL 836758 at *2-9, 42-
    64.
    39
         See Ex. 40 (Ltr. from Att’y Gen. Xavier Becerra et al. to President Donald Trump, at 3, July 21, 2017).
    40
      See Ex. 32, Hamilton Dep. At 207:20-208:11 (Oct. 20, 2017) (responding to whether “DHS ha[s] a policy to deal
    with litigation risk” including “threats to sue by state or local officials” by stating, “No. And that sounds like the
    craziest policy you could ever have in a department. You could never do anything if you were always worried about
    being sued.”); accord Ex. 33, Nealon Dep. At 28:5-7, 154:23-155:11 (Oct. 13, 2017) (unaware, in 33 years of
    federal government service, of any policy besides DACA that was rescinded due to litigation risk).
    41
      See also Ex. 10, ¶ 5 & n.6 (Wong Decl.) (“The average age that [a DACA recipient] first arrived in the U.S. is
    6.5,” during “kindergarten or first grade.”).



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    punishes individuals for the illegal actions of their parents and will have life-altering

    consequences. Id. at 226; see also Kadrmas v. Dickinson Pub. Schools, 487 U.S. 450, 459 (1988)

    (affirming that denying a public education to the children of illegal aliens penalized them

    because of their parents’ illegal conduct and they would suffer adverse, life-long consequences).

    Thus, in Lewis v. Thompson, 252 F.3d 567, 591 (2d Cir. 2001), the Second Circuit held that a

    federal statute that denied automatic Medicaid coverage to children born in the U.S. to

    undocumented aliens violated Equal Protection. Key to the holding was the Second Circuit’s

    finding that the Medicaid provision penalized children for their mother’s conduct and triggered

    significant and enduring consequences to the children themselves. Id.; see also Nat’l Law Ctr. on

    Homelessness and Poverty v. N.Y., 224 F.R.D. 314, 321-22 (E.D.N.Y. 2004) (denying state’s

    motion to dismiss equal protection claim asserted by homeless children that they were not

    receiving the same educational benefits as children with homes; “[d]efendants appear to be

    penalizing these homeless children because of the misfortunes or misdeeds of their parents” and

    “the penalty [risks] significant and ensuring consequences” to the homeless children.)

             All DACA grantees were brought to this country as children, through no choice or fault

    of their own, and thus have the same blameless quality identified by the Supreme Court and

    Second Circuit. 42 As in Lewis, depriving these young adults of the ability to obtain any

    employment or imposing substantial burdens on their ability to attend school both penalizes them

    for the actions of their parents and exposes them to “significant and enduring adverse

    consequences.” Lewis, 252 F.3d at 591.




    42
       See Memorandum from Janet Napolitano, Sec’y of Homeland Security, to Alejandro Mayorkas, Director, U.S.
    Citizenship and Immigration Servs., Exercising Prosecutorial Discretion With Respect to Individuals Who Came to
    the United States as Children, June 15, 2012, AR 1-3.



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             In sum, Defendants’ decision to terminate DACA was motivated by animus towards

    Latinos and is therefore unconstitutional. Defendants’ termination of DACA is also

    unconstitutional because there exists no rational relationship between that policy and their stated

    objectives. This irrationality is especially problematic given the blameless nature of the class

    affected. Thus, Plaintiff States have shown a likelihood of success on their claim that

    Defendants’ termination of DACA violates Equal Protection.

             Defendants’ Termination of DACA Violates the Procedural Requirements of the
             APA and RFA.

             In addition to its substantive defects, the termination of DACA is procedurally invalid.

    By terminating DACA without allowing for notice and comment or conducting a regulatory

    flexibility analysis, Defendants violated the APA and RFA.

             Rules created by federal agencies are generally subject to notice and comment. APA

    requirements “are designed (1) to ensure that agency regulations are tested via exposure to

    diverse public comment, (2) to ensure fairness to affected parties, and (3) to give affected parties

    an opportunity to develop evidence in the record to support their objections to the rule and

    thereby enhance the quality of judicial review.” United States v. Lott, 750 F.3d 214, 219 (2d Cir.

    2014) (internal quotation and citation omitted). The APA requires notice of proposed agency

    rules and an opportunity to comment for all “legislative” or “substantive” rules, 43 exempting

    only “interpretive rules, general statements of policy, or rules of agency organization, procedure,

    or practice.” 5 U.S.C. § 553(b)(A); Chrysler Corp. v. Brown, 441 U.S. 281, 302–303 (1979);

    White v. Shalala, 7 F.3d 296, 303 (2d Cir. 1993). In other words, notice and comment

    rulemaking applies to all rules other than those that describe “an agency’s intended course of
    43
       While the terms “legislative” and “substantive” are used interchangeably in this context, Plaintiff States use the
    term “legislative” consistent with the preference identified by the Second Circuit. White v. Shalala, 7 F.3d 296, 303
    (2d Cir. 1993).



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    action” (general statements of policy), “its tentative view of the meaning of a particular statutory

    term” (interpretative rules), or “internal house-keeping measures organizing agency activities”

    (procedural rules). Perales v. Sullivan, 948 F.2d 1348, 1354 (2d Cir. 1991) (internal citation and

    quotations omitted). Notice and comment is required whenever agency action does not fall

    within these specific exemptions, which “must be narrowly construed.” United States v.

    Picciotto, 875 F.2d 345, 347 (D.C. Cir. 1989).

            When the APA’s notice and comment requirements apply, the RFA further requires a

    regulatory flexibility analysis to assess a prospective rule’s impact on small businesses,

    nonprofits, and small governmental jurisdictions, unless the head of the agency certifies that the

    rule will not affect small entities. 44 5 U.S.C. §§ 601(2), 603(a) 604(a), 605(b); see also U.S.

    Telecom Ass’n v. FCC, 400 F.3d 29, 42 (D.C. Cir. 2005) (FCC should have provided notice of a

    rule under 5 U.S.C. § 553 (Rulemaking), so the RFA’s requirements were applicable).

            In this case, the termination does not fall under the APA’s exemptions for interpretive or

    procedural rules, because it affects existing rights and interests in profound ways. The

    termination is not exempt as a general statement of policy because it binds the discretion of DHS

    and its officials. Moreover, the substantial impact of the rule has engendered significant public

    interest, which weighs in favor of public input through notice and comment. Yet Defendants

    terminated DACA after a few brief meetings and without the benefit of input and analysis from




    44
       The termination directly affects small entities, in that it prohibits them from continuing to employ DACA
    grantees. See Aeronautical Repair Station Ass’n v. F.A.A., 494 F.3d 161, 177–78 (D.C. Cir. 2007) (a rule that
    required employees to undergo drug and alcohol testing “directly affected” contractors and subcontractors, not just
    primary employers). But absent this direct effect, the DHS Secretary would have been required to certify, by
    publication in the Federal Register, that the rule would not have a significant economic impact on a substantial
    number of small entities, along with a factual basis for such certification. See 5 U.S.C. § 605(b). The DHS Secretary
    issued no such certification here.



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    numerous stakeholders. Under the APA and the RFA, a more deliberative and public process was

    required.

           The Termination Changed Existing Rights and Interests.

           Whether a rule is “legislative” rather than “interpretive” or “procedural” turns on whether

    the rule “creates new law, rights, or duties in what amounts to a legislative act.” Sweet v.

    Sheahan, 235 F.3d 80, 91 (2d Cir. 2000) (quoting White, 7 F.3d at 303). Thus, where a rule

    “change[s] existing rights and obligations,” it is a legislative rule. Donovan v. Red Star Marine

    Servs., Inc., 739 F.2d 774, 783 (2d Cir. 1984) (citing Lewis-Mota v. Sec’y of Labor, 469 F.2d

    478, 482 (2d Cir.1972) (internal citations omitted). “A procedural rule, by contrast, ‘does not

    alter the rights or interests of parties, although it may alter the manner in which the parties

    present themselves or their viewpoints to the agency.’” Time Warner Cable Inc. v. F.C.C., 729

    F.3d 137, 168 (2d Cir. 2013) (quoting Elec. Privacy Info. Ctr. v. U.S. Dep’t of Homeland Sec.,

    653 F.3d 1, 5-6 (D.C. Cir. 2011)). And an “interpretive” rule “merely ‘clarif[ies] an existing

    statute or regulation.’” N.Y. State Elec. & Gas Corp. v. Saranac Power Partners, L.P., 267 F.3d

    128, 131 (2d Cir. 2001) (internal citations omitted).

           Here, the rule terminating DACA significantly altered the rights and interests of hundreds

    of thousands of DACA grantees and DACA-eligible individuals. Current grantees will lose

    deferred status and work authorization benefits when their terms expire and they are precluded

    from the opportunity to renew. DACA grantees were repeatedly assured that their requests for

    renewal of their lawful presence would be considered if they followed the rules of the DACA

    program. 45 As Former Secretary of Homeland Security John Kelly affirmed, once an individual


    45
      See Napolitano Memo, June 15, 2012, AR 1; Ex. 41 (USCIS Help Center, DACA FAQs); Ex. 42 (USCIS Help
    Center, How will USCIS evaluate my request for renewal of DACA); Ex. 43 (USCIS DACA Approval Notice).



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    was granted deferred prosecution under DACA, he or she was granted a “commitment … by the

    government.” 46 Walking away from that “commitment” curtails DACA grantees’ existing rights

    and deeply affects their interests. The termination also categorically disallows all applications for

    deferred action for all those who satisfy DACA’s established criteria. Prospective grantees have

    lost not only the ability to apply for deferred action based on that criteria, but also access to work

    authorization, social security cards, advance parole (under 8 U.S.C. § 1182(d)(5)), and numerous

    collateral benefits. Thus, the rule does not fall under the interpretive or procedural exemptions of

    the APA.

           The Termination Binds the Discretion of DHS and Its Officials.

           The termination is more than a “general statement of policy” because it binds DHS

    discretion. To determine whether the exemption to notice and comment applies, courts look to

    whether a rule binds the discretion of the agency and its officials. See Gen. Elec. Co. v. E.P.A.,

    290 F.3d 377, 382–83 (D.C. Cir. 2002) (notice and comment is required when a rule “expresses a

    change in substantive law or policy (that is not an interpretation) which the agency intends to

    make binding, or administers with binding effect.”) (internal quotation and citation omitted). The

    “critical factor” in distinguishing a legislative rule from a general statement of policy is “the

    extent to which the challenged [directive] leaves the agency, or its implementing official, free to

    exercise discretion to follow, or not to follow, the [announced] policy in an individual case.”

    Municipality of Anchorage v. United States, 980 F.2d 1320, 1324 (9th Cir. 1992) (quoting

    Mada–Luna v. Fitzpatrick, 813 F.2d 1006, 1013-14 (9th Cir.1987)). Thus, “cabining of an

    agency’s prosecutorial discretion” rises to the level of a legislative rule where it requires agency


    46
     Ex. 44 (Ted Hesson & Seung Min Kim, Wary Democrats Look to Kelly for Answers on Immigration, Politico,
    Mar. 29, 2017).



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    officials to take a particular approach. Cmty. Nutrition Inst. v. Young, 818 F.2d 943, 948 (D.C.

    Cir. 1987); see also Bellarno Intern. Ltd. v. Food & Drug Admin., 678 F.Supp. 410, 414

    (E.D.N.Y. 1988) (an alert that automatically required detention of certain pharmaceuticals

    imported into the U.S. was binding on both the government and importers and thus subject to

    notice and comment).

              The Termination Memo eliminates DHS’s discretion to grant new DACA applications, to

    renew existing benefits, or to authorize advance parole. From now on, DHS “[w]ill reject all

    DACA initial requests … filed after the date of this memorandum,” “[w]ill reject all DACA

    renewal requests” outside of a strict wind-down period which has already ended, “[w]ill not

    approve any new Form I-131 applications for advance parole,” and “[w]ill administratively close

    all pending Form I-131 applications for advance parole” by DACA grantees (emphasis added). 47

    This type of “mandatory, definitive language is a powerful, even potentially dispositive, factor”

    in determining whether a rule is substantive. Young, 818 F.2d at 947. In fact, DHS officials

    currently retain no discretion to fulfill any DACA-related requests, whether for initial or renewal

    applications or for advance parole. Cf. Dimaren v. Immigr. and Naturalization Serv., 398 F.Supp.

    556, 559 (S.D.N.Y. 1974) (rule was exempt from notice and comment because agency officials

    were free to give an immigration policy memorandum “whatever weight [they] deemed

    appropriate,” so it did not bind their discretion). Moreover, DACA grantees and DACA-eligible

    individuals are bound in that they cannot meaningfully request deferred action or advance parole

    under the framework that they could under DACA.




    47
         DACA Termination Memo, AR 252-255.



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               Unlike the DACA termination, deferred action programs usually end when circumstances

    render them no longer necessary (such as new statutory protections coming from Congress). 48 In

    one circumstance in which the government attempted to eliminate a prosecutorial discretion

    program for a class of non-citizens, however, a federal court determined that notice and comment

    rulemaking was required under the APA. See Parco v. Morris, 426 F. Supp. 976, 984-985 (E.D.

    Pa. 1977). In Parco, the federal government attempted to terminate a policy that granted

    extended stay in the U.S. for individuals awaiting a certain type of visa. Because this decision

    stripped agency officials of discretion to offer relief, the court found that it was a “flat rule of

    eligibility” rather than a “general statement of policy.” Id. The DACA termination allows for

    even less discretion than that in Parco, as the Parco termination explicitly left in place discretion

    to grant relief in “compelling” cases, id. at 981, while the DACA termination flatly states that

    DACA requests will be rejected. Parco distinguished the Second Circuit’s decision in Noel v.

    Chapman, 508 F.2d 1023, 1029 (2d Cir. 1975), which upheld a different aspect of the same

    termination decision against an APA challenge. In Noel, the challenged aspect of the policy

    served as only a “guideline” for agency discretion, left relevant determinations in the “sole

    discretion” of agency officials, and contained an explicit “hardship” exception.” Id. at 1030. The

    difference between Noel and Parco is analogous to the difference between the creation of

    deferred action policies (such as DACA) and the DACA termination. Deferred action policies for

    groups of people provide guidance to agency officials in the field to inform their exercise of

    discretion in individual cases. 49 The DACA termination, on the other hand, mandates that agency




    48
         See Ex. 1, ¶ 76 (Wadhia Decl.).
    49
         See Ex. 1, ¶ 51, 53 (Wadhia Decl.).


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    officials reject all requests of a certain type. Thus, the termination cannot be characterized as a

    statement of policy exempt from notice and comment.

           A Strong Public Interest in the Treatment of DACA Grantees Weighs in Favor of
           Notice and Comment.

           Courts also recognize that the question of whether the impact of a rule is substantial

    enough to trigger notice and comment is ‘“one of degree’ depending upon ‘whether the

    substantive effect is sufficiently grave so that notice and comment are needed to safeguard the

    policies underlying the APA.’” Elec. Privacy Info. Ctr., 653 F.3d at 5-6 (internal citations

    omitted). A strong public interest in a rule thus weighs in favor of a finding that the rule is

    legislative in nature, and therefore subject to notice-and-comment rulemaking. Hoctor v. U.S.

    Dept. of Agric., 82 F.3d 165, 171 (7th Cir. 1996) (“The greater the public interest in a rule, the

    greater reason to allow the public to participate in its formation.”).

           There is a strong public interest in the protection of the DACA program, not only from

    hundreds of thousands of DACA grantees themselves, but also from states, colleges, universities,

    businesses, non-profits, cities and towns, school districts, family members, and taxpayers who

    have invested significant resources and benefitted from the DACA program. All of these

    individuals and entities will be significantly harmed when hundreds of thousands of young

    people lose the opportunities and security that DACA has provided. Accord infra Part IV

    (cataloguing the irreparable harm that Plaintiff States and their residents will suffer if the

    termination is not enjoined). This substantial impact merits the opportunity for notice and

    comment by those affected. Thus, Plaintiff States are likely to succeed on their claim that

    Defendants violated the APA and RFA by foregoing notice and comment procedures and a

    regulatory flexibility analysis.




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           PLAINTIFF STATES SATISFY THE REMAINING REQUIREMENTS FOR
                               INJUNCTIVE RELIEF

            Plaintiff States also satisfy the remaining requirements of the preliminary injunction

    standard, as the States will suffer irreparable harm without preliminary relief, preliminary relief

    is in the public interest, and the balance of equities weigh in favor of the States.

            Absent an Injunction, the States Will Suffer Irreparable Harm.

            Plaintiff States and their residents will suffer irreparable harm absent injunctive relief.

    Winter, 555 U.S. at 22. 50 Plaintiff States’ demonstration that they are likely to succeed on the

    merits of their equal protection claim establishes that they will incur irreparable harm. See Jolly

    v. Coughlin, 76 F.3d 468, 482 (2d Cir. 1996) (“the alleged violation of a constitutional right []

    triggers a finding of irreparable harm”); see also Statharos v. N.Y. City Taxi & Limousine

    Comm'n, 198 F.3d 317, 322 (2d Cir. 1999) (“Because plaintiffs allege deprivation of a

    constitutional right, no separate showing of irreparable harm is necessary.”) (citation omitted).

    Further, whether a party has been “depriv[e]d of a procedural protection to which they are

    entitled” under the APA, as Plaintiff States were here, can be significant when finding

    irreparable harm; if this were not the case, “section 553 [rulemaking] would be a dead letter.” N.

    Mariana Islands v. United States, 686 F.Supp.2d 7, 17-18 (D.D.C. 2009) (citing Sugar Cane

    Growers Coop. of Fla. v. Veneman, 289 F.3d 89, 94-95 (D.C. Cir. 2002)).

            The threat of harm to Plaintiff States is imminent. See N. Y. ex rel. Schneiderman v.

    Actavis PLC, 787 F.3d 638, 660 (2d Cir. 2015), cert. dismissed sub nom, Allergan PLC v. N. Y.

    ex. rel. Schneiderman, 136 S. Ct. 581 (2015) (quoting Forest City Daly Hous., Inc. v. Town of N.

    Hempstead, 175 F.3d 144, 153 (2d Cir.1999)) (internal quotation marks omitted) (irreparable
    50
       As detailed for this Court in Batalla Vidal Plaintiffs’ Memorandum of Law in support of their Motion for
    Preliminary Injunction, the termination of DACA will also cause irreparable harm to DACA grantees and
    organizations that serve them.



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    harm is “injury that is neither remote nor speculative, but actual and imminent and that cannot be

    remedied by an award of monetary damages”). Between September 5, 2017 and March 4, 2018,

    122 people per day have lost, or will lose, their DACA benefits; and “beginning on March 5th,

    2018, every work day for the following two years…approximately 1,400 dreamers will lose their

    work permits and be subject to deportation.” 51 This imminent loss of work and potential

    deportation of DACA grantees will cause irreparable injury to the States. The termination will

    negatively impact the States’ child welfare systems as the U.S. citizen children of DACA

    grantees may be placed in the States’ care as a result of their parents inability to remain legally in

    the United States. 52 Increased fear of deportation will also harm public safety, since without

    DACA status, DACA grantees will be less likely to report violence, abuse, crimes or other harms

    to the community. 53 The States will also suffer concrete and irreparable injury, as regulators and

    licensors, employers, and providers of education and health care systems. 54 State and local

    economies will also be harmed. These harms will be irreversible absent the granting of

    preliminary relief during the pendency of this litigation.




    51
      See Ex. 45 (Tom Jawetz and Nichole Prchal Svajlenka, Thousands of DACA Recipients Are Already Losing
    Their Protection From Deportation, Nov. 9 2017); Oct. 3 S. Jud. Transcript 2017 WL 4410019 at 12.
    52
       See Ex. 10, ¶¶ 26-27 (Wong Decl.); Ex. 46, ¶ 20 (Zayas Decl.); Ex. 47, ¶¶ 9-11 (Rubin Decl.); Ex. 48, ¶¶ 3, 8
    (Morales Decl.); Ex. 6, ¶ 20 (Cuevas Decl.); Ex. 111, ¶ 9 (Mendez Decl.); Ex. 49, ¶ 7 (Nicolas Decl.); Ex. 50, ¶ 4
    (G.L. Decl.); See State v. Trump, 2017 WL 4639560, at *36 (D. Haw. Oct. 17, 2017), stayed pending appeal---S.Ct.-
    --, 2017 WL 5987435 (Mem)(“Plaintiffs identify a multitude of harms that are not compensable with monetary
    damages and that are irreparable—among them, prolonged separation from family members.”); Int’l Refugee
    Assistance Project v. Trump, 2017 WL 4674314, at *37 (D. Md. Oct. 17, 2017), stayed pending appeal—S.Ct.—,
    2017 WL 5987435 (Mem)(“Without an injunction, Plaintiffs will be subjected to imminent and irreparable harm as a
    result of the prolonged separation from their family members caused by the Proclamation”).
    53
     See Ex. 10, ¶ 30 (Wong Decl.); Ex. 51, ¶ 10 (Graham Decl., DE Comm. Legal Aid Soc.); Ex. 52, ¶ 15 (Ambrosino
    Decl., City of Chelsea, MA); Ex. 53, ¶ 16 (Suarez-Orozco Decl.).
    54
         See Ex. 10, ¶¶ 37-100 (Wong Decl.); Ex. 54, ¶¶ 22-41, 43-44, 46 (Ku Decl.).



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            Harm to the States’ Regulatory and Licensing Schemes.

         The termination will require a shift in the States’ regulatory and licensing schemes, as many

    States will have to devise alternate regulations to address the thousands of DACA grantees who

    have obtained licenses, social security cards, and insurance because of their status under

    DACA. 55 For example, the Board of Regents in New York, which permanently adopted

    regulations to allow DACA grantees to apply for teacher certification and professional licenses,

    including nursing licenses, will likely have to adjust or revoke these regulations due to the

    termination. 56 These shifts will create budgetary uncertainty, 57 and impair the States, along with

    their towns and counties, from making informed decisions going forward. 58

            Harm to State Employers.

            As DACA benefits expire, the States will lose the services of highly qualified employees

    in government who provide a diverse range of services to the States’ residents, including faculty

    at State universities, nurses, information technology specialists, and public safety officers. 59 The

    States will lose the substantial investment that they have made in training these individuals, an

    investment they will never recoup if DACA is terminated. For example, there is substantial fear

    55
       See Ex. 55, ¶¶ 6-7 (Bzdyra Decl., CT DMV.); Ex. 56, ¶¶ 6-7 (White Decl., IL SOS); Ex. 57 (Mass. Registry of
    Motor Vehicles, Social Security Number (SSN) Requirements); Ex. 58 (Attorney General Advisory Letter to Acting
    Commissioner K. Eric Boyette, Jan. 17, 2013); ORS 807.021 (Oregon Revised Statutes requiring proof of legal
    presence to issue, renew, or replace driver license).
    56
       See Ex. 59, ¶5 (Rosado Decl., New York Secretary of State); Ex. 5, ¶ 10 (Naveed Decl.); See also 705 Ill. Comp.
    Stat. 205/2 (Illinois statute allowing DACA grantees to apply for a license to practice law).
    57
      For example, in New York State, the March 5, 2018 deadline is just a few weeks before the fiscal year, which runs
    from April 1 to March 31. See N.Y. Fin. Law § 3.
    58
      See Ex. 56, ¶ 7 (Decl. White, IL SOS); Ex. 57 (Mass. Registry of Motor Vehicles, Social Security Number (SSN)
    Requirements); Ex. 60, ¶¶ 5-7 (Decl. Perez); Ex. 7, ¶¶ 7,9 (Decl. Mendes); Ex. 9, ¶ 8 (Decl. Juarez); Ex. 61, ¶ 4
    (Decl. Oduyoye); Ex. 62, ¶ 8 (Decl. I.V.); Ex. 63, ¶ 9 (Decl. I.T.).
    59
      See Ex. 64, ¶¶ 8. 10-14 (Johnson Decl., SUNY); Ex. 59, ¶¶ 8-9 (Rosado Decl., New York Secretary of State); Ex.
    19, ¶¶ 4-6 (Monroe Decl., WA DOE); Ex. 18, ¶ 10 (Heatwole Decl., UMass); Ex. 65, ¶¶ 3-6 (Glatt Decl., Columbia
    Basin College); Ex. 20, ¶¶ 3-6 (Kaplan Decl., WA DSHS); Ex. 21, ¶¶ 3-6 (Jones Decl., WA Office of Treasurer);
    Ex. 66, ¶¶ 3-6 (Schuh Decl., Anacortes); Ex. 22, ¶¶ 3-6 (Conly Decl., WA DVA); Ex. 67, ¶¶ 3-6 (Garza Decl., Big
    Ben Community College).



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    that the termination will result in Washington State University losing many valuable employees,

    including research and teaching assistants. 60 School districts employ DACA grantees as teachers,

    and public and community-based healthcare institutions hire DACA grantees who are doctors to

    work in underserved or high-demand communities. 61 In addition to losing the critical skills of

    these employees, States will incur additional costs to recruit, hire, and train replacements for the

    DACA grantees, resulting in concrete and irreparable injury. State and local government

    agencies also will be hampered in their efforts to recruit strong candidates for open positions. 62

               Harm to State Educational Institutions.

               In addition to the loss of employees, the States’ educational institutions will lose students

    and experience a loss of revenue, thus hindering their ability to promote critical programming

    necessary to fulfill their educational missions. 63 DACA grantees who are students—one half of

    all DACA grantees—may stop attending school in the upcoming semesters due to a loss of

    funding, fear of deportation, and the inability to work following graduation. 64 Without relief

    from the Court, students will lose scholarships and default on educational loans, impacting both




    60
         See Ex. 17, ¶ 7 (Loera Decl., WSU).
    61
      See Ex. 68, ¶ 11 (Carrizales Decl., Teach For America), Ex. 6, ¶¶ 8-11 (Cuevas, Decl., Oregon dentist); Ex. 69, ¶¶
    8,15 (Mostafi Decl., MOIA); see also Ex. 54, ¶¶ 44, 46 (Ku Decl.); Ex. 70, ¶ 10 (Kennedy Decl., City of
    Newburgh).
    62
      See Ex. 70, ¶¶ 7-14,17 (Kennedy Decl., Newburgh, NY); Ex. 52, ¶¶ 4-16 (Ambrosino & Bourke Decl., City of
    Chelsea); Ex. 66, ¶¶ 3-6 (Schuh Decl., Anacortes); Ex. 68, ¶¶ 7-12 (Carrizales Decl., Teach for America).
    63
      See Ex. 18, ¶¶ 5-7 (Heatwole Decl., UMass); Ex. 24, ¶¶ 12-13 (Clark et al. Decl., MA St. U.); Ex. 25, ¶¶ 15-38
    (Herbst Decl., UConn); Ex. 26, ¶¶ 15-24 (Pachis Decl., E. CT St. U.); Ex. 27, ¶¶ 1, 4 (Hardwick Decl., U. DC).
    64
       For DACA grantees with a spring expiration date an injunction could be the difference between completing their
    education or dropping out mid-semester. See Oct. 3 S. Jud. Transcript 2017 WL 4410019 at 39. See also Ex. 17, ¶¶
    4-6, 9-11 (Loera Decl., WSU); Ex. 71, ¶ 7 (Milliken Decl. CUNY); Ex. 72, ¶¶ 4-5 (Ballinger Decl., UW); Ex. 18, ¶
    5 (Heatwole Decl., UMass); Ex. 73, ¶ 8 (Jeka Decl., Tufts University); Ex. 25, ¶ 17 (Herbst Decl., UConn); Ex. 74,
    ¶ 10 (Salgado Decl., CCC); Ex. 75, ¶¶ 8-9 (Wilson Decl., U of I).



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    the educational institutions and financial providers in the States. 65 For example, Eastern

    Connecticut State University stands to lose almost $2 million in payments for the 2017-2018

    academic year if DACA students are forced to withdraw as a result of the termination. 66 Those

    DACA grantees who continue to attend school post-termination will not be able to fully

    participate in a variety of activities—including travel sports teams, study-abroad programs,

    research projects, scholarly work, and travel opportunities—because they will lack the necessary

    work and travel authorizations. 67 These factors may shrink the capacity of state and private

    educational institutions to offer such programming to their entire student body. Public and

    private universities will be forced to alter recruitment of both students and faculty. 68 Finally,

    termination will hinder the ability of colleges and universities to advance their commitment to

    inclusion and diversity. 69

               Harm to State Healthcare Systems.

               Absent an injunction, the termination will also cause immediate and far-reaching

    consequences to the States’ health care systems. 70 The termination will force DACA grantees,

    57% of whom obtain their health insurance through their employers, off employer-based

    65
      See Ex. 4, ¶ 13 (Andrade Decl.); Ex. 76, ¶ 6 (Guevara Decl.); Ex. 7, ¶ 8 (Mendes, Decl.); Ex. 71 ¶ 7 (I.T. Decl.);
    Ex. 8, ¶¶ 4-5 (Teodoro Decl.); Ex. 6, ¶¶ 7-9, 12-13 (Cuevas Decl.); Ex. 5, ¶¶ 10, 13 (Naveed Decl.); Ex. 77, ¶ 4
    (Preciado Decl.); Ex. 61, ¶ 4 (Oduyoye Decl.); Ex. 78, ¶ 6 (Suria Decl.); Ex. 79, ¶ 5 (Torrez Decl.).
    66
       See Ex. 26, ¶ 18 (Pachis Decl., E. CT St. U.); see also Ex. 80, ¶ 8 (Miranda Decl., CSU); Ex. 81, ¶ 6 (Hagemann
    Decl.,WOU); Ex. 82, ¶ 6 (Trueblood-Gamble Decl., SOU); Ex. 27, ¶ 6 (Hardwick Decl., U. DC); Ex. 83, ¶ 5
    (Alexander Decl., OSU); Ex. 84, ¶ 6 (Ridder Decl., PSU); Ex. 85, ¶ 5 (Galvan Decl., U of O).
    67
      See Ex. 86, ¶ 6 (Dietz Decl., ISU); Ex. 88, ¶ 7 (Martin Decl., Amherst); Ex. 89, ¶ 8 (Stephens Decl., Mount
    Holyoke).
    68
         See Ex. 90, (Locke Decl., Brown); Ex. 64, ¶ 6 (Johnson Decl., SUNY); Ex. 17, ¶¶ 4-6, 9-11 (Loera Decl., WSU).
    69
        See Ex. 71, ¶ 10 (Milliken Decl., CUNY); Ex. 72 ¶6 (Ballinger Decl, U. of Washington); Ex. 18, ¶ 7 (Heatwole
    Decl., UMass); Ex. 80, ¶ 9 (Miranda Decl., Colorado State U.); Ex. 25, ¶¶ 19-26, 36-38 (Herbst Decl., UConn.); Ex.
    27, ¶ 8 (Hardwick Decl., U. DC); Ex. 91, ¶¶ 7-8, 10 (Straney Decl., U. of Hawaii); Ex. 86, ¶¶ 3, 4, 7, Dietz Decl.,
    Illinois State U.); Ex. 23, ¶¶ 10, 18, 21 (Mathewson & Pareja Decl., Univ. of NM School of Law ); Ex. 83, ¶¶ 6, 8
    (Alexander Decl., Oregon State. U.); Ex. 92, ¶¶ 4-5 (Reveley Decl., College of William and Mary).
    70
         See Ex. 54, ¶¶ 22-42 (Ku Decl.).



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    coverage and on to emergency Medicaid or other uncompensated care that is administered or

    funded by the States. 71 Termination will thus place a heavier burden on state public health

    systems to serve the uninsured. 72 For example, Illinois and New York—the two Plaintiff States

    that will be most impacted—will incur an estimated $20 million and $18 million, respectively, in

    additional public health costs due to the termination; nationwide the estimate climbs to an

    increase of more than $343 million in public health costs. 73

               Moreover, States will have to adjust their healthcare systems to increase access for

    former DACA grantees. 74 For example, both New York and the District of Columbia have State-

    funded health care coverage for low-income undocumented immigrants who have received

    deferred action. However, due to the termination, both States may have to amend their rules to

    include former DACA grantees in that coverage, which will drain State resources. 75 Access to

    care will also be limited for dependents of DACA grantees, including U.S. citizen children, once

    DACA grantees lose their work authorizations and private insurance coverage. 76 An increased

    strain on State-funded healthcare programs and a subsequent lack of access to care for the States’

    residents is irreparable and imminent harm.




    71
         See Ex. 10, ¶ 10(e) (Wong. Decl); Ex. 54, ¶ 12 (Ku Decl.).
    72
      See Ex. 54, ¶ 22 (Ku Decl.) (finding that DACA grantees’ loss of private health insurance will result in higher
    demand on state-funded emergency Medicaid).
    73
         See Ex. 54 ¶¶ 29, 33, 42 (Ku Decl.).
    74
       Ex. 93, ¶¶ 5-6 (Peterson Decl.); Ex. 94, ¶¶ 4-7 (Groff Decl.). See also Fishman v. Paolucci, 628 F. App’x 797,
    800 (2d Cir. 2015) (District Court did not abuse its discretion in finding that “the wrongful denial of Medicaid
    benefits . . . is the type of non-monetary, imminent harm that is properly characterized as irreparable.” (internal
    citation omitted)); Lewis v. Grinker, 1987 WL 8412, at *5 (E.D.N.Y. Mar. 6, 1987) (finding denial of non-
    emergency Medicaid coverage to aliens residing in New York State to be irreparable harm).
    75
         See Ex. 54 ¶¶ 27, 33 (Ku Decl.); Ex. 95, ¶¶ 9-12 (Schlosberg Decl.).
    76
      See Ex. 54. ¶¶ 11-12,15, 22 (Ku Decl.); Ex. 10, ¶ 26 (Wong Decl.); Ex. 46, ¶ 27 (Zayas Decl.); Ex. 47, ¶¶ 9-11
    (Rubin Decl.); Ex. 48, ¶¶ 3, 8 (Morales Decl.); Ex. 6, ¶ 20 (Cuevas Decl.).



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                Harm to State and Local Economies.

                The negative economic impact of the termination will be staggering. The country as a

    whole will lose approximately $215 billion over the next ten years in economic contributions by

    DACA grantees, 77 and states and localities will lose an estimated $797 million in tax revenues.78

    States also will be deprived of DACA grantees’ critical contribution to vulnerable communities

    and key sectors in their states. For example, many DACA grantee students have expressed

    interest in—and have in fact obtained—scholarships that require them to work in rural or under-

    served communities as physicians, lawyers, and healthcare professionals once they finish their

    studies. 79 They will no longer be able to do so.

                More than 90% of DACA grantees are employed, and the program has allowed many

    grantees to obtain better paying employment that more closely matches their education and

    training. 80 Moreover, one in twenty grantees has relied on the program to start a business, a rate

    higher than that of native-born Americans. 81 Termination will translate into smaller consumer

    and legal workforce bases within the States, 82 harming the private sector and especially small




    77
         See Ex. 96, ¶ 14 (Brannon Decl.).
    78
         See Ex. 97, ¶ 6 (Decl. Essig et al.).
    79
       See Ex. 98, ¶ 8 (Callahan Decl., Loyola); Ex. 4 ¶ 15 (Andrade Decl.); Ex. 99, ¶ 14 (Roth Decl., UNMHSC); Ex.
    100, ¶ 6 (Cuprill-Comas Decl., OHSU); Ex. 101, ¶ 7 (Sullivan Decl., U of V); Ex. 5, ¶ 14 (Decl. Naveed); Ex. 102, ¶
    8 (Perla Decl.); Ex. 9, ¶¶ 12-13 (Juarez Decl.); Ex. 54, ¶ 45 (Ku Decl.).
    80
         See Ex. 10, ¶ 10-12 (Wong Decl.).
    81
         See Ex. 10, ¶ 10(g) (Wong Decl.).
    82
       See Ex. 103, ¶ 7 (Mutty Decl., Starbucks); Ex. 12, ¶ 4 (Blackwell-Hawkins Decl., Amazon); Ex. 13, ¶ 7-11
    (Kalvert Decl., TripAdvisor); Ex. 104, ¶ 7-12 (Shively Decl., Microsoft); Ex. 105, ¶ 6-14 (Tracy Decl., Brazilian
    Workers Center); Ex. 14, ¶ 7-11 (Igneri Decl., Local Burger); Ex. 15, ¶ 4-7 (Tingen Decl., Tingen and Williams);
    Ex. 106, ¶ 4-6 (Romero Decl., Barrera Legal Group); Ex. 107, ¶ 7 (Greenberg Decl., WP); Ex. 16, ¶ 7 (Schwartz
    Decl., Univision); Ex. 108, ¶ 5 (Pinsky Decl., ABNY); Ex. 109, ¶ 3-7 (Gooden Decl., VA DAF). The
    entrepreneurial sector in the States will also suffer, as the data shows that immigrants start their own businesses and
    file patents at greater rates than native-born Americans. Ex. 11, ¶ 18 (Brannon Decl.)); Ex. 10, ¶¶ 37-100 (Wong
    Decl.).



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    businesses and nonprofits for which the loss of even one qualified and trained employee can

    cause significant disruption. 83

                                                               ***

             Each day during the pendency of this litigation, hundreds of thousands of DACA grantees

    experience fear and uncertainty in their lives, with significant adverse effects to them and their

    families, and also to the State employers, universities, hospitals, and communities in which they

    work and reside. The only way to head off the imminent and irreparable harms that termination

    on March 5, 2018 will cause is for the Court to grant preliminary relief until this lawsuit is fully

    resolved.

             The Public Interest and the Balance of the Equities Weigh in Favor of a Preliminary
             Injunction.

             The public interest and the balance of the equities weigh in favor of granting a

    preliminary injunction. 84 Both favor “preventing the violation of a party’s constitutional rights.”

    Ariz. Dream Act Coal. v. Brewer, 757 F.3d at 1069 (9th Cir. 2014) (quoting Melendres v. Arpaio,

    695 F.3d 990, 1002 (9th Cir.2012)) (brackets omitted). The public interest also favors

    compliance by agencies with their obligations under the APA and RFA. See N. Mariana Islands,

    686 F.Supp.2d at 21 (“the public interest is served when administrative agencies comply with

    their obligations under the APA”). Here, Plaintiff States have shown that Defendants have

    violated the constitutional guarantee of Equal Protection, as well as the APA and RFA. In fact,


    83
      See Ex. 10, ¶¶ 6, 11-12, 18, 23 (Wong Decl.); See also Ariz. Dream Act Coal. v. Brewer, 855 F.3d 957, 978 (9th
    Cir. 2017) (“Plaintiffs' inability to obtain drivers' licenses hinders them in pursuing new jobs, attending work,
    advancing their careers, and developing business opportunities. They thus suffer financial harm and significant
    opportunity costs. And as we have previously found, the irreparable nature of this injury is exacerbated by Plaintiffs'
    young age and fragile socioeconomic status”).
    84
       Plaintiffs choose to address these prongs although this showing may not be necessary. See Actavis at 662, n 38.
    (“We need not consider the balance of the hardships given that New York has demonstrated a substantial likelihood
    of success on the merits.”).



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    all parties agree that DACA has brought great benefit to DACA grantees, their families, their

    schools, their employers, their states, and the nation at large. 85 Absent an injunction, DACA

    grantees, the States and their residents will face grave costs. Provisional relief benefits the public

    interest.

               In contrast to the harm faced by the public if DACA is terminated, Defendants will suffer

    minimal to no harm if the court grants an injunction. A grant of preliminary relief here would

    require DHS to review additional DACA applications—a mere continuation of current practice

    as DHS already anticipates that it will be processing applications up to and after March 5,

    2018. 86 The small cost of processing additional applications pales in comparison to the

    irreparable harm that will befall Plaintiff States absent an injunction. 87 Any delay caused by a

    preliminary injunction pending adjudication on the merits will not significantly change this

    calculation nor impede the orderly functioning of the immigration system as a whole.

    Accordingly, both the balance of the equities and the public interest favor relief.

               Indeed, provisional relief preserves the status quo. “In this Circuit, the appropriate status

    quo in need of preservation is that which was in existence before the [challenged conduct]

    occurred.” Hoffman ex rel. Nat’l Labor Relations Bd. v. Inn Credible Caterers, Ltd., 247 F.3d

    360, 369 (2d Cir. 2001). Plaintiff States allege that the termination is unlawful, and an injunction

    would preserve the status quo during the pendency of this suit by allowing DACA grantees to

    85
       See ECF. 54 at ¶¶ 198, 205; Ex. 10, ¶¶ 6, 11-12, 13-14, 18, 22-23 (Wong Decl.); Ex. 110 (Letter from Secretary
    Jeh Charles Johnson to Rep. Judy Chu, Dec. 30, 2016); Ex. 53, ¶¶ 4,7-11 (Suarez-Orozco Decl.); Ex. 46, ¶¶ 32, 34-
    35 (Zayas Decl.); See Oct.3 S. Jud. Transcript, 2017 WL 4410019 at 12, 25. (Dreamers are “a benefit to the country”
    and are “a valuable contribution”); Ex. 112, Donald J. Trump (@realDonaldTrump), Twitter, Sept. 14, 2017, 3:28
    AM) (Dreamers serve in the military); Ex. 3, McCament Dep. 12:13-14:7 (DACA holders contribute to educational,
    business, and economic sectors), and 13:3-14:7 (regularization of status helps “administer the system more
    effectively”); Ex. 33, Nealon Dep. 152:12-23 (DACA provides “human” and economic benefits).
    86
         See Ex. 35, Neufeld Dep. 208:3-9.
    87
      DHS has testified that the administrative burdens and costs in terminating DACA are minimal. Ex. 35, Neufeld
    Dep. 203:18-204:4.



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    keep their jobs and continue attending schools, while allowing the States to continue to employ

    them to serve the States’ residents.

                                              CONCLUSION

           For the reasons set forth above, Plaintiff States respectfully request that the Court grant the

    instant Motion for a Preliminary Injunction.



    DATED: December 15, 2017

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